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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

IN RE:

James S. Pendergraft, IV                                      Case No. 6:18-06437-KSJ
                                                              Chapter 7

      Debtor(s).
____________________________/

              MOTION TO WITHDRAW AS COUNSEL FOR THE DEBTOR

                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 30 days from
the date set forth on the attached proof of service, plus an additional three days for service if any
party was served by U.S. Mail. You should read these papers carefully and discuss them with
your attorney if you have one. If the paper is an objection to your claim in this bankruptcy case,
your claim may be reduced, modified, or eliminated.

        If you object to the relief requested in this paper, you must file a response with the Clerk
of the Court at George C. Young Federal Courthouse, 400 West Washington Street, Suite 5100,
Orlando, FL 32801 and serve a copy on the movant's attorney, Wayne B. Spivak, Esq., Attorneys
Justin Clark & Associates, PLLC, 500 Winderley Place, Unit 100, Maitland, FL 32751, and any
other appropriate persons within the time allowed. If you file and serve a response within the
time permitted, the Court will either schedule and notify you of a hearing, or consider the
response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
do not oppose the relief requested in the paper, will proceed to consider the paper without further
notice or hearing, and may grant the relief requested.


         COMES NOW, the undersigned counsel files this Motion to Withdraw as Counsel for the

Debtor, and in support thereof would state as follows:

            1. The Debtor and Debtors Counsel have irreconcilable differences regarding issues

               within and progression of this case, and can no longer represent the Debtor going

               forward.
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       WHEREFORE, Debtor’s counsel respectfully requests this Honorable Court enter an

Order Granting Debtor’s Counsel’s Motion to Withdraw, and for such other relief that may be

deemed just and proper in circumstances.



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been

provided to Trustee Arvind Mahendru, 5703 Red Bug Lake Road, Suite 284, Winter Springs, FL

32708, via electronic transmission and to Debtor James S. Pendergraft, IV, 609 Virginia Drive,

Orlando, FL 32803 via US Mail, on this 1st day of November 2019.



                                                     Respectfully Submitted,

                                                     By: /s/ Justin R. Clark
                                                     Justin R. Clark, Esq.
                                                     Florida Bar No. 829471
                                                     Justin Clark & Associates, PLLC
                                                     Attorney for Debtor
                                                     500 Winderley Place, Unit 100
                                                     Maitland, FL 32751
                                                     Tel: 321-282-1055
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                                                     Email: jclark@youhavepower.com
